     Case 2:20-cv-00872 Document 16 Filed 03/19/21 Page 1 of 2 PageID #: 64




                     IN THE UNITED STATES DISTRICT COURT
                 FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA

                                   CHARLESTON DIVISION

JAMES NATHANIEL BRASWELL,                             )
                                                      )
               Plaintiff,                             )
v.                                                    )               Civil Action No. 2:20-00872
                                                      )
SGT. X MUNCIE, et al.,                                )
                                                      )
               Defendants.                            )

                                            ORDER

       Defendants Roberts and Jividen, by counsel, have filed with the Court and served on

Plaintiff, who is acting pro se, a Motion to Dismiss and Memorandum in Support. (Document

Nos. 14 and 15.) Accordingly, pursuant to Roseboro v. Garrison, 528 F.2d 309 (4th Cir. 1975),

Plaintiff is hereby notified that he has the right to file a response to the Defendants Roberts and

Jividen’s Motion and submit Affidavit(s) or statements subject to the penalties of perjury,

exhibits, and/or other legal or factual material supporting his positions and issues in the case as

they are challenged by Defendants in the aforesaid Motion. Plaintiff is advised that actual

statements in Affidavits or Declarations submitted by Defendants will be accepted as true unless

Plaintiff sets forth facts in response indicating the existence of a genuine or actual dispute of fact

for trial. In response to Defendants’ Motion, Plaintiff must set out either in his own Affidavit or

sworn statement or the Affidavits or sworn statements of other witnesses, specific facts which

show that Plaintiff and the Defendants actually disagree about one or more important and

material fact or facts presented by this case. In the Affidavits and exhibits, Plaintiff should

address, as clearly as possible, the issues and facts stated in the Motion and in the Affidavits

submitted by Defendants. If Plaintiff chooses to file a response in opposition to the Motion, it is

hereby ORDERED that Plaintiff’s response shall be filed with the Clerk of this Court on or
     Case 2:20-cv-00872 Document 16 Filed 03/19/21 Page 2 of 2 PageID #: 65




before April 19, 2021. Plaintiff shall serve copies of his response in opposition to Defendants’

Motion on counsel for the Defendants.

       Plaintiff is also advised that a failure to respond to Defendants’ Motion may result in a

recommendation of denial of the relief sought in the Complaint and dismissal of this suit. In

preparing a response, Plaintiff should be aware of the fact that a knowing assertion of a

falsehood in order to avoid dismissal could, if proven, constitute perjury punishable by law.

       Following service of Plaintiff’s response to Defendants’ Motion, if such is filed,

Defendants will have seven (7) business days within which to file a reply, and the parties are

advised that, after the passage of the time provided for a response and a reply, the Court will

consider the Motion ready for decision.

       The Clerk is hereby directed to mail a copy of this Order to Plaintiff, who is acting pro

se, and to counsel of record.

       ENTER: March 19, 2021.




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